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                        IN THE
                        IN THE UNITED
                               UNITED STATES
                                      STATES COURT OF APPEALS
                                             COURT OF APPEALS
                                FOR THE
                                FOR THE FOURTH CIRCUIT
                                        FOURTH CIRCUIT


         MARYLAND SHALL
         MARYLAND       ISSUE, INC.,
                  SHALL ISSUE,       et al.
                               INC., et al.

                      Plaintiffs-Appellants,
                      Plaintiffs-Appellants,

               v.
               v.

         ANNE ARUNDEL
         ANNE ARUNDEL COUNTY,
                      COUNTY,                                   No. 23-1351
                                                                No. 23-1351
         MARYLAND,
         MARYLAND,

                      Defendant-Appellee.
                      Defendant-Appellee.


                        RESPONSE IN SUPPORT
                        RESPONSE IN         OF AMICUS
                                    SUPPORT OF AMICUS FILINGS
                                                      FILINGS

              Appellee Anne
              Appellee Anne Arundel
                            Arundel County, Maryland consents
                                    County, Maryland          to all
                                                     consents to     proposed amicus
                                                                 all proposed amicus

        filings. As required
        filings. As required under
                             under Federal
                                   Federal Rule
                                           Rule of Appellate Procedure
                                                of Appellate           29(a)(3), proposed
                                                             Procedure 29(a)(3), proposed

        amici have
        amici have the
                   the requisite
                       requisite "interest"
                                 “interest” in the case,
                                            in the       and their
                                                   case, and their briefs
                                                                   briefs are “desirable” and
                                                                          are "desirable" and

        “relevant to
        "relevant to the
                     the disposition
                         disposition of the case.”
                                     of the        While Plaintiffs
                                            case." While            have informed
                                                         Plaintiffs have informed this
                                                                                  this Court
                                                                                       Court

        that they
        that they oppose three proposed
                  oppose three proposed amicus
                                        amicus briefs,
                                               briefs, see
                                                       see Dkt.
                                                           Dkt. 46,
                                                                46, Plaintiffs’
                                                                    Plaintiffs' objections
                                                                                objections are
                                                                                           are

        meritless.
        meritless.

              Plaintiffs
              Plaintiffs object to aa brief
                         object to    brief submitted
                                            submitted by
                                                      by family members of
                                                         family members of individuals who
                                                                           individuals who

        died by
        died by gun
                gun suicide
                    suicide and
                            and one individual who
                                one individual who attempted
                                                   attempted gun
                                                             gun suicide
                                                                 suicide but
                                                                         but survived.
                                                                             survived. This
                                                                                       This

        brief explains
        brief          that the
              explains that the proposed
                                proposed amici
                                         amici "strongly
                                               “strongly believe
                                                         believe that
                                                                 that information and
                                                                      information and

        resources about
        resources about firearm suicide, such
                        firearm suicide, such as
                                              as the
                                                 the literature
                                                     literature required by the
                                                                required by the Ordinance,
                                                                                Ordinance,

        could have prevented
        could have prevented the
                             the deaths
                                 deaths by
                                        by suicide
                                           suicide and the suicide
                                                   and the suicide attempt
                                                                   attempt described
                                                                           described in
                                                                                     in this
                                                                                        this
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        brief.” Dkt.
        brief." Dkt. 42
                     42 at
                        at 2.
                           2. Plaintiffs
                              Plaintiffs originally
                                         originally consented to this
                                                    consented to this brief,
                                                                      brief, see
                                                                             see id. at 1,
                                                                                 id. at 1, and
                                                                                           and

        Plaintiffs have not
        Plaintiffs have not attempted
                            attempted to
                                      to explain their revocation
                                         explain their revocation of that consent.
                                                                  of that          In any
                                                                          consent. In any event,
                                                                                          event,

        it is
        it    difficult to
           is difficult to understand
                           understand Plaintiffs’
                                      Plaintiffs' argument (at 5)
                                                  argument (at 5) that
                                                                  that the
                                                                       the proposed
                                                                           proposed brief
                                                                                    brief "has
                                                                                          “has no
                                                                                               no

        probative value"
        probative value” or “goes beyond
                         or "goes beyond the
                                         the issues
                                             issues raised by the
                                                    raised by the parties."
                                                                  parties.” Among
                                                                            Among other
                                                                                  other

        questions, this
        questions, this appeal
                        appeal presents
                               presents the
                                        the question
                                            question whether
                                                     whether the
                                                             the Ordinance is supported
                                                                 Ordinance is supported by
                                                                                        by aa

        sufficiently weighty
        sufficiently weighty interest.
                             interest. See
                                       See Plaintiffs'
                                           Plaintiffs’ Br.
                                                       Br. 41
                                                           41 (arguing
                                                              (arguing that
                                                                       that the
                                                                            the Ordinance
                                                                                Ordinance is
                                                                                          is

        “trivial”). The
        "trivial"). The proposed
                        proposed brief
                                 brief offers “unique information
                                       offers "unique information or
                                                                  or perspective"
                                                                     perspective” that
                                                                                  that efforts
                                                                                       efforts

        like the
        like the Ordinance
                 Ordinance can save lives.
                           can save        Ryan v.
                                    lives. Ryan v. CFTC, 125 F.3d
                                                   CFTC, 125 F.3d 1062,
                                                                  1062, 1063 (7th Cir.
                                                                        1063 (7th Cir.

        1997). As
        1997). As for
                  for Plaintiffs’ argument (at
                      Plaintiffs' argument (at 5) that the
                                               5) that the brief
                                                           brief is
                                                                 is "unfairly
                                                                    “unfairly prejudicial,"
                                                                              prejudicial,” the
                                                                                            the

        Federal Rules
        Federal Rules of
                      of Evidence do not
                         Evidence do not apply to amicus
                                         apply to amicus filings,
                                                         filings, and the fact
                                                                  and the      that the
                                                                          fact that the

        proposed amicus
        proposed amicus brief
                        brief powerfully
                              powerfully refutes
                                         refutes Plaintiffs’
                                                 Plaintiffs' argument does not
                                                             argument does not make
                                                                               make the
                                                                                    the

        brief unfair
        brief unfair or prejudicial.
                     or prejudicial.

              Plaintiffs
              Plaintiffs object to aa brief
                         object to    brief submitted
                                            submitted by
                                                      by Gun
                                                         Gun Owners
                                                             Owners for
                                                                    for Safety,
                                                                        Safety, aa coalition
                                                                                   coalition of
                                                                                             of

        “gun owners
        "gun owners from varied backgrounds
                    from varied backgrounds and
                                            and political
                                                political affiliations"
                                                          affiliations” who
                                                                        who explain that
                                                                            explain that

        the "information
        the “information the
                         the Ordinance provides for
                             Ordinance provides for is
                                                    is critical to safe
                                                       critical to safe and
                                                                        and responsible gun
                                                                            responsible gun

        ownership, and it
        ownership, and it is
                          is consistent with well-established
                             consistent with well-established policies
                                                              policies and
                                                                       and best
                                                                           best practices
                                                                                practices

        within the
        within the firearms industry.” Dkt.
                   firearms industry."      32 at
                                       Dkt. 32    1, 3.
                                               at 1, 3. Plaintiffs declare this
                                                        Plaintiffs declare this argument
                                                                                argument

        “irrelevant” (at
        "irrelevant" (at 5), but one
                         5), but one of
                                     of Plaintiffs’ principal arguments
                                        Plaintiffs' principal           is that
                                                              arguments is that the
                                                                                the information
                                                                                    information

        provided under
        provided under the
                       the Ordinance is impermissibly
                           Ordinance is impermissibly "controversial."
                                                      “controversial.” See
                                                                       See Plaintiffs
                                                                           Plaintiffs Br.
                                                                                      Br.

        43 (arguing
        43 (arguing that
                    that the
                         the Ordinance is not
                             Ordinance is not "uncontroversial"
                                              “uncontroversial” because
                                                                because Plaintiffs “strongly
                                                                        Plaintiffs "strongly



                                                   22
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        objected to the
        objected to the messages
                        messages that
                                 that the
                                      the County's
                                          County’s literature sends”). That
                                                   literature sends"). That gun
                                                                            gun owners
                                                                                owners

        broadly deem
        broadly deem the
                     the information
                         information provided
                                     provided under
                                              under the
                                                    the Ordinance uncontroversial and
                                                        Ordinance uncontroversial and

        beneficial responds
        beneficial responds directly
                            directly to
                                     to an
                                        an argument
                                           argument Plaintiffs make. The
                                                    Plaintiffs make.     proposed brief
                                                                     The proposed brief is
                                                                                        is

        nothing like
        nothing like the
                     the out-of-circuit
                         out-of-circuit precedent
                                        precedent Plaintiffs
                                                  Plaintiffs cite (at 2-3),
                                                             cite (at 2-3), where
                                                                            where amici
                                                                                  amici sought
                                                                                        sought

        to "initiate,
        to “initiate, create,
                      create, extend,
                              extend, or
                                      or enlarge
                                         enlarge issues” not raised
                                                 issues" not raised by
                                                                    by the
                                                                       the parties.
                                                                           parties. Lehman
                                                                                    Lehman XS
                                                                                           XS

        Tr., Series 2006-GP2
        Tr., Series 2006-GP2 v.
                             v. Greenpoint Mortg. Funding,
                                Greenpoint Mortg. Funding, Inc.,
                                                           Inc., No.
                                                                 No. 12
                                                                     12 CIV.
                                                                        CIV. 7935 ALC,
                                                                             7935 ALC,

        2014 WL
        2014 WL 265784,
                265784, at
                        at *2 (S.D.N.Y. Jan.
                           *2 (S.D.N.Y. Jan. 23,
                                             23, 2014)
                                                 2014) (citation
                                                       (citation omitted); see also
                                                                 omitted); see also Cellnet
                                                                                    Cellnet

        Commc’ns, Inc. v.
        Commc'ns, Inc.    FCC, 149
                       v. FCC, 149 F.3d
                                   F.3d 429,
                                        429, 443
                                             443 (6th
                                                 (6th Cir. 1998) (declining
                                                      Cir. 1998) (declining to
                                                                            to grant
                                                                               grant relief
                                                                                     relief

        sought by
        sought by amici
                  amici but
                        but not
                            not by
                                by any party); F.P.
                                   any party); F.P. Dev.,
                                                    Dev., LLC
                                                          LLC v.
                                                              v. Charter
                                                                 Charter Twp. of Canton,
                                                                         Twp. of Canton,

        16 F.4th
        16 F.4th 198,
                 198, 203
                      203 (6th
                          (6th Cir. 2021) (declining
                               Cir. 2021) (declining to
                                                     to resolve
                                                        resolve ripeness
                                                                ripeness argument raised by
                                                                         argument raised by

        amicus but
        amicus but forfeited by the
                   forfeited by the parties).
                                    parties).

              Plaintiffs
              Plaintiffs finally
                         finally object to an
                                 object to    amicus brief
                                           an amicus brief submitted
                                                           submitted by
                                                                     by the
                                                                        the Constitutional
                                                                            Constitutional

        Accountability Center
        Accountability        (“CAC”) responding
                       Center ("CAC") responding in detail to
                                                 in detail to Plaintiffs’ First Amendment
                                                              Plaintiffs' First Amendment

        arguments. Unlike
        arguments. Unlike Plaintiffs'
                          Plaintiffs’ objections to the
                                      objections to the briefs
                                                        briefs filed by gun-suicide
                                                               filed by gun-suicide survivors
                                                                                    survivors

        and by
        and by Gun
               Gun Owners
                   Owners for
                          for Safety—that these briefs
                              Safety—that these briefs are
                                                       are too
                                                           too different
                                                               different from the
                                                                         from the

        arguments raised
        arguments raised by
                         by the
                            the County—Plaintiffs’
                                County—Plaintiffs' objection to the
                                                   objection to the CAC brief (at
                                                                    CAC brief (at 6)
                                                                                  6) is that
                                                                                     is that

        it is
        it    too similar.
           is too similar. Plaintiffs, however, acknowledge
                           Plaintiffs, however, acknowledge (at
                                                            (at 7) that CAC
                                                                7) that CAC makes
                                                                            makes arguments
                                                                                  arguments

        that the
        that the County does not.
                 County does not. And
                                  And even
                                      even aa cursory review of
                                              cursory review    the CAC's
                                                             of the CAC’s brief
                                                                          brief confirms
                                                                                confirms

        that it
        that it is
                is not
                   not duplicative,
                       duplicative, as
                                    as it
                                       it provides
                                          provides helpful
                                                   helpful context
                                                           context explaining why the
                                                                   explaining why the Ordinance
                                                                                      Ordinance

        satisfies the
        satisfies the First
                      First Amendment,
                            Amendment, see
                                       see Dkt.
                                           Dkt. 28
                                                28 at
                                                   at 3-17,
                                                      3-17, and
                                                            and about the numerous
                                                                about the numerous federal,
                                                                                   federal,



                                                  3
                                                  3
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        state, and
        state, and local
                   local laws that Plaintiffs’
                         laws that Plaintiffs' argument would call
                                               argument would      into question,
                                                              call into question, see
                                                                                  see id. at
                                                                                      id. at

        17-26.
        17-26.

              The most
              The most detailed
                       detailed appellate decision addressing
                                appellate decision addressing authorization to file
                                                              authorization to file an
                                                                                    an

        amicus brief
        amicus brief over
                     over aa party's
                             party’s objection was authored
                                     objection was          by then-Judge
                                                   authored by then-Judge Alito
                                                                          Alito for the Third
                                                                                for the Third

        Circuit. See Neonatology
        Circuit. See Neonatology Assocs.,
                                 Assocs., P.A.
                                          P.A. v.
                                               v. Comm’r, 293 F.3d
                                                  Comm'r, 293 F.3d 128
                                                                   128 (3d
                                                                       (3d Cir.
                                                                           Cir. 2002).
                                                                                2002).

        For aa host
        For    host of
                    of reasons,
                       reasons, he
                                he explained, “a broad
                                   explained, "a broad reading”
                                                       reading" of
                                                                of Rule 29 "is
                                                                   Rule 29 “is prudent."
                                                                               prudent.” Id.
                                                                                         Id.

        at 132.
        at 132. An
                An amicus
                   amicus "may
                          “may provide
                               provide important
                                       important assistance to the
                                                 assistance to the court” given that
                                                                   court" given that

        “[s]ome amicus
        "[s]ome        briefs collect
                amicus briefs         background or
                              collect background or factual references that
                                                    factual references that merit
                                                                            merit judicial
                                                                                  judicial

        notice,” some
        notice," some amici
                      amici "are
                            “are entities with particular
                                 entities with particular expertise not possessed
                                                          expertise not possessed by
                                                                                  by any
                                                                                     any

        party,” and
        party," and some
                    some "argue
                         “argue points
                                points deemed
                                       deemed too
                                              too far-reaching
                                                  far-reaching for
                                                               for emphasis by aa party
                                                                   emphasis by    party

        intent on
        intent    winning aa particular
               on winning    particular case.” Id. (citation
                                        case." Id. (citation omitted). “A restrictive
                                                             omitted). "A restrictive policy
                                                                                      policy

        with respect
        with respect to
                     to granting
                        granting leave
                                 leave to
                                       to file may also
                                          file may also create
                                                        create at least the
                                                               at least the perception
                                                                            perception of
                                                                                       of

        viewpoint discrimination,"
        viewpoint discrimination,” and
                                   and may
                                       may "convey
                                           “convey an unfortunate message
                                                   an unfortunate message about the
                                                                          about the

        openness
        openness of the court.”
                 of the         Id. at
                        court." Id. at 133.
                                       133. As
                                            As the
                                               the unnecessary
                                                   unnecessary briefing
                                                               briefing here
                                                                        here confirms, “the
                                                                             confirms, "the

        time required
        time required for skeptical scrutiny
                      for skeptical scrutiny of proposed amicus
                                             of proposed        briefs may
                                                         amicus briefs may equal, if not
                                                                           equal, if not

        exceed, the time
        exceed, the time that
                         that would
                              would have
                                    have been
                                         been needed
                                              needed to
                                                     to study
                                                        study the
                                                              the briefs
                                                                  briefs at
                                                                         at the
                                                                            the merits
                                                                                merits stage
                                                                                       stage

        if leave
        if leave had
                 had been
                     been granted."
                          granted.” Id.
                                    Id. Accordingly,
                                        Accordingly, leave
                                                     leave to
                                                           to file amicus briefs
                                                              file amicus briefs should
                                                                                 should be
                                                                                        be

        granted "unless
        granted “unless it
                        it is
                           is obvious that the
                              obvious that the proposed
                                               proposed briefs
                                                        briefs do
                                                               do not
                                                                  not meet
                                                                      meet Rule 29’s criteria
                                                                           Rule 29's criteria

        as broadly
        as broadly interpreted."
                   interpreted.” Id.
                                 Id. This
                                     This approach
                                          approach is
                                                   is "consistent
                                                      “consistent with
                                                                  with the
                                                                       the predominant
                                                                           predominant

        practice in
        practice    the courts
                 in the courts of
                               of appeals.” Id.; accord
                                  appeals." Id.; accord Lefebure
                                                        Lefebure v. D’Aquilla, 15
                                                                 v. D'Aquilla, 15 F.4th
                                                                                  F.4th 670,
                                                                                        670,



                                                 4
                                                 4
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        674-675 (5th
        674-675 (5th Cir. 2021) (noting
                     Cir. 2021) (noting that
                                        that "courts
                                             “courts should
                                                     should welcome
                                                            welcome amicus briefs,” and
                                                                    amicus briefs," and

        that denying
        that denying leave
                     leave to
                           to file
                              file “would
                                   "would contradict the whole
                                          contradict the whole point
                                                               point of our adversarial
                                                                     of our adversarial legal
                                                                                        legal

        system, which
        system, which relies
                      relies on the robust
                             on the robust exchange
                                           exchange of
                                                    of competing views to
                                                       competing views to ensure the
                                                                          ensure the

        discovery of
        discovery    truth and
                  of truth and avoid
                               avoid error”).
                                     error").

              This Court
              This Court routinely accepts numerous
                         routinely accepts numerous amicus briefs for
                                                    amicus briefs for filing. See, e.g.,
                                                                      filing. See, e.g.,

        Grimm
        Grimm v.
              v. Gloucester
                 Gloucester Cnty. Sch. Bd.,
                            Cnty. Sch. Bd., No.
                                            No. 19-1952
                                                19-1952 (4th
                                                        (4th Cir.) (nine amicus
                                                             Cir.) (nine amicus briefs);
                                                                                briefs);

        Mayor &
        Mayor & City
                City Council of Balt.
                     Council of Balt. v. Azar, No.
                                      v. Azar, No. 19-1614
                                                   19-1614 (4th
                                                           (4th Cir.)
                                                                Cir.) (ten
                                                                      (ten amicus
                                                                           amicus briefs).
                                                                                  briefs).

        And this
        And this Court
                 Court grants
                       grants leave
                              leave to
                                    to file
                                       file amicus briefs even
                                            amicus briefs      when not
                                                          even when not all
                                                                        all parties
                                                                            parties consent.
                                                                                    consent.

        See Long
        See Long v. Hooks, No.
                 v. Hooks, No. 18-6980,
                               18-6980, Dkt. 33 (4th
                                        Dkt. 33 (4th Cir.)
                                                     Cir.) (granting
                                                           (granting motions
                                                                     motions to
                                                                             to file
                                                                                file amicus
                                                                                     amicus

        briefs where
        briefs where one party withheld
                     one party withheld consent).
                                        consent). Plaintiffs
                                                  Plaintiffs offer no reason
                                                             offer no        to depart
                                                                      reason to depart from
                                                                                       from

        that practice
        that practice and
                      and subject
                          subject three
                                  three amici to "seemingly
                                        amici to “seemingly disparate
                                                            disparate treatment"
                                                                      treatment” here.
                                                                                 here. See
                                                                                       See

        Neonatology Assocs.,
        Neonatology Assocs., 293
                             293 F.3d
                                 F.3d at 133.
                                      at 133.




                                                 5
                                                 5
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                                                    Respectfully submitted,
                                                    Respectfully submitted,

         Gregory J.
         Gregory  J. Swain
                     Swain                          /s/ Neal Kumar
                                                    /s/ Neal        Katyal
                                                             Kumar Katyal
           County   Attorney
           County Attorney                          Neal Kumar
                                                    Neal  Kumar Katyal
                                                                 Katyal
         Hamilton F.
         Hamilton  F. Tyler
                      Tyler                         William E.
                                                    William  E. Havemann
                                                                Havemann
           Deputy   County Attorney
           Deputy County    Attorney                Simon
                                                    Simon Chin
                                                           Chin
         Tamal A.
         Tamal  A. Banton
                   Banton                           Hogan Lovells
                                                    Hogan           US LLP
                                                            Lovells US  LLP
           Senior  Assistant County
           Senior Assistant  County Attorney
                                     Attorney       555  Thirteenth Street,
                                                    555 Thirteenth          N.W.
                                                                    Street, N.W.
         Anne Arundel
         Anne  Arundel County
                        County Office  of Law
                                Office of Law       Washington, D.C.
                                                    Washington,   D.C. 20004
                                                                       20004
         2660 Riva
         2660  Riva Road,  4th Floor
                     Road, 4th Floor                (202) 637-5600
                                                    (202) 637-5600
         Annapolis, Maryland
         Annapolis,  Maryland 21401
                               21401                neal.katyal@hoganlovells.com
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         (410) 222-7888
         (410) 222-7888
                                                    Eric Tirschwell
                                                    Eric Tirschwell
                                                    James
                                                    James Miller
                                                           Miller
                                                    Nina Sudarsan
                                                    Nina  Sudarsan
                                                    Everytown   Law
                                                    Everytown Law
                                                    450 Lexington
                                                    450            Avenue
                                                         Lexington Avenue
                                                    P.O. Box 4184
                                                    P.O. Box  4184
                                                    New York,
                                                    New   York, NY
                                                                NY 10017
                                                                    10017
         July 26,
         July 26, 2023
                  2023                              (646) 324-8222
                                                    (646) 324-8222




                                                6
                                                6
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                             CERTIFICATE
                             CERTIFICATE OF
                                         OF COMPLIANCE
                                            COMPLIANCE

              II certify that this
                 certify that this response
                                   response complies with Federal
                                            complies with Federal Rule
                                                                  Rule of Appellate Procedure
                                                                       of Appellate Procedure

        27(d)(1) because
        27(d)(1) because it has been
                         it has been prepared
                                     prepared in
                                              in Times
                                                 Times New
                                                       New Roman 14-point font
                                                           Roman 14-point      using
                                                                          font using

        Microsoft Word
        Microsoft Word 2010.
                       2010. II further
                                further certify that it
                                        certify that it complies with Federal
                                                        complies with Federal Rule
                                                                              Rule of
                                                                                   of

        Appellate Procedure
        Appellate           27(d)(2) because
                  Procedure 27(d)(2) because it
                                             it contains 1,025 words.
                                                contains 1,025 words.


         July 26,
         July 26, 2023
                  2023                            /s/ Neal Kumar
                                                  /s/ Neal       Katyal
                                                           Kumar Katyal
                                                  Neal Kumar
                                                  Neal  Kumar Katyal
                                                              Katyal
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                                    CERTIFICATE OF
                                    CERTIFICATE OF SERVICE
                                                   SERVICE


              II certify that on
                 certify that on July 26, 2023,
                                 July 26, 2023, II filed the foregoing
                                                   filed the           with the
                                                             foregoing with the Clerk
                                                                                Clerk of the Court
                                                                                      of the Court

        for the United
        for the United States Court of
                       States Court    Appeals for
                                    of Appeals     the Fourth
                                               for the Fourth Circuit
                                                              Circuit by
                                                                      by using
                                                                         using the
                                                                               the appellate
                                                                                   appellate

        CM/ECF system. Participants
        CM/ECF system.              in the
                       Participants in the case
                                           case are registered CM/ECF
                                                are registered        users and
                                                               CM/ECF users and service
                                                                                service

        will be
        will be accomplished by the
                accomplished by the appellate
                                    appellate CM/ECF system.
                                              CM/ECF system.


         July 26,
         July 26, 2023
                  2023                              /s/ Neal Kumar
                                                    /s/ Neal       Katyal
                                                             Kumar Katyal
                                                    Neal Kumar
                                                    Neal  Kumar Katyal
                                                                Katyal
